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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


 A.M., by her mother and next friend, E.M.,   )
                                              )
                          Plaintiff,          )
                                              )
                       v.                     )               No. 1:22-cv-01075-JMS-DLP
                                              )
 INDIANAPOLIS PUBLIC SCHOOLS and              )
 SUPERINTENDENT, INDIANAPOLIS PUBLIC SCHOOLS, )
                                              )
                          Defendants.         )

                                PRELIMINARY INJUNCTION

        For the reasons stated in the Court's Order entered this day, Defendants are

 PRELIMINARILY ENJOINED until further order of this Court from applying Indiana Code §

 20-33-13-4 to prohibit Plaintiff A.M. from playing on any IPS girls' softball team.




          Date: 7/26/2022




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